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                                                                                                         E-FILED
                                                                   Wednesday, 12 August, 2020 01:52:09 PM
                                                                              Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS


DEBORAH LAUFER, Individually,             )
                                          )
           Plaintiff,                     )
                                          )
      vs.                                 )
                                          )                   Case No. 20-CV-3149
Q ILL DEVELOPMENT LLC d/b/a EAGLES )
NEST HOTEL, an Illinois Limited Liability )
Company,                                  )
                                          )
           Defendant.                     )


                         DEFENDANT'S MEMORANDUM OF LAW
                        IN SUPPORT OF ITS MOTION TO DISMISS

         Comes now Defendant, Q ILL Development LLC d/b/a Eagles Nest Hotel ("Eagles Nest"),

an Illinois Limited Liability Company, by its attorneys, Schmiedeskamp Robertson Neu &

Mitchell LLP, and moves to dismiss Plaintiff's Complaint pursuant to Federal Rule of Civil

Procedure 12(b)(1). In Support of this Motion, Defendant states as follows:

                                             I. FACTS

         Plaintiff Deborah Laufer filed this lawsuit on June 16, 2020 seeking injunctive relief,

attorneys' fees and litigation expenses pursuant to Title III of the Americans with Disabilities Act

("ADA"). In her Complaint, Plaintiff, a resident of Pasco County, Florida and an admitted ADA

"tester", alleges that she visited Defendant's hotel website and other third-party travel websites and

was unable to review and assess handicap accessible information. See Plaintiff's Complaint, ¶ 2

and ¶10. Although she lives over 1000 miles away from the Eagles Nest hotel, Plaintiff claims that

she "plans to return" to Defendant's website at some unspecified point in the future to assess the

hotel's website. See Plaintiff's Complaint, ¶ 11.

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         Since May 2019, Plaintiff has filed, in the aggregate, over 200 lawsuits in New York1,

Georgia, Florida, Massachusetts, Connecticut and now Illinois and is represented by the same law

firm in most of these lawsuits. This case is one of at least twenty (20) lawsuits filed by Plaintiff in

Illinois against various businesses and places of public accommodation under Title III of the ADA.

(See the Pacer list attached as Exhibit B). In these "drive by" lawsuits, Plaintiff consistently alleges

certain website violations under the ADA. See Plaintiff's Complaint, ¶ 10. It appears, based on the

volume of like cases, the purpose of these lawsuits is not to remedy legitimate website deficiencies

encountered by the Plaintiff or to cure ADA violations because the Plaintiff lacks any sincerely

held future plans to travel to purchase goods and services offered at these businesses, but rather,

to generate attorneys and expert fees.2

                                  II. LEGAL STANDARD OF REVIEW

         Rule 12(b)(1) of the Federal Rules of Civil Procedure authorizes a defendant at any time

to move for dismissal of a claim for lack of subject matter jurisdiction. More specifically, Rule

12(b)(1) "provides for dismissal of a claim based on lack of subject matter jurisdiction, including

lack of standing." Stubenfield v. Chicago Housing Authority, 6 F.Supp.3d 779, 782 (N.D. Ill. 2013)

(citing Retired Chicago Police Ass'n v. City of Chicago, 76 F.3d 856 (7th Cir. 1996). Article III of

the Constitution limits federal judicial power to certain "cases" and "controversies," and the



1
  Plaintiff Laufer has recently been instructed by the Northern District of New York to file 27 memorandums of law
as to her legal standing in these cases. See https://www.adatitleiii.com/2020/05/northern-district-of-new-york-
orders-serial-plaintiff-to-justify-standing-in-over-27-separate-hotel-reservations-website-lawsuits/ and the attached
Order from the Northern District of New York dated May 6, 2020 attached as Exhibit A ("There appears to be a
serious question as to whether Plaintiff has established standing, in this, or any of her other cases, and thus whether
the Court has subject matter jurisdiction over these actions.) See, e.g. Laufer v. Laxmi & Sons LLC, 1:19-cv-01501
(BKS/L) (Dkt. No. 15, at 7. May 6, 2020). ("There are no facts in the Complaint or Plaintiff's affidavit indicating
that she has ever traveled to Rensselaer, New York, or anywhere in New York, or that she has any reason to travel
anywhere in New York or any reason to seek lodging anywhere in New York.").
2
  The Plaintiff made no effort to notify Defendant of any purported website deficiencies or ADA violations prior to
institution of this lawsuit.
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"irreducible constitutional minimum" of standing contains three elements. Lujan v. Defs. of

Wildlife, 504 U.S. 555, 559–60 (1992). As the party invoking federal jurisdiction, a plaintiff bears

the burden of establishing the elements of Article III standing. Lujan, 504 U.S. at 561. The

Supreme Court has held that "each element [of standing] must be supported in the same way as

any other matter on which the plaintiff bears the burden of proof." Lujan, at 561.

         In the instant case, Plaintiff, Deborah Laufer, has failed to plead sufficient facts to

demonstrate a likelihood of future injury necessary to establish an "injury in fact" required for

standing and her Complaint should therefore be dismissed pursuant to Rule 12(b)(1).

                                          III. ARGUMENT

A.       Standing of ADA "tester" Plaintiff

         Title III of the ADA prohibits any person who owns, leases, or operates a place of public

accommodation from discriminating against an individual on the basis of that individual's

disability. See 42 U.S.C. § 12182(a). A person alleging discrimination under Title III must show

(1) that he is disabled within the meaning of the ADA; (2) that the defendant is a private entity that

owns, leases, or operates a place of public accommodation; (3) that the plaintiff was deprived of

the full and equal enjoyment of the goods, services, facilities, privileges, advantages, or

accommodations of the defendant; and (4) that the defendant failed to make reasonable

modifications that would accommodate the plaintiff's disability without fundamentally altering the

nature of the public accommodation. See 42 U.S.C. § 12182(a) and (b).

         While the "tester" status of a plaintiff who challenges a defendant's compliance with a

statute does not defeat standing, it does not automatically confer it either; a tester must still satisfy

the elements of standing, including the injury-in-fact requirement. Carello v. Aurora Policemen

Credit Union, 930 F.3d 830, 833 (7th Cir. 2019). Although dignitary harm is cognizable under the

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ADA, not all dignitary harms are sufficiently concrete to serve as injuries-in-fact, as required to

establish standing. Americans with Disabilities Act of 1990, § 2 et seq., 42 U.S.C.A. § 12101 et

seq. Carello, at 834. ADA plaintiff who was personally denied equal treatment by the challenged

discriminatory conduct has suffered a concrete injury, but dignitary harm stemming from the mere

knowledge that discriminatory conduct is occurring is an "abstract stigmatic injury" that the

plaintiff lacks standing to vindicate. Americans with Disabilities Act of 1990, § 2 et seq., 42

U.S.C.A. § 12101 et seq. Id. at 834.

          In order to pursue an ADA claim, a plaintiff must satisfy the standing requirement, a

prerequisite for federal court jurisdiction growing out of the "case or controversy" requirement of

Article III of the United States Constitution. City of Los Angeles v. Lyons, 461 U.S. 95, 101 (1983).

The US Supreme Court has developed a three-prong test to determine whether a plaintiff has

standing. "The plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial

decision." Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016).

         The first prong of the test requires that the "the plaintiff have suffered an 'injury in fact' --

an invasion of a judicially cognizable interest which is (a) concrete and particularized and (b)

actual or imminent, not conjectural or hypothetical." Bennett v. Spear, 520 U.S. 154, 167 (1997)

(quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). The "injury in fact"

demanded by Article III requires an additional showing when a party seeks injunctive relief, the

only form of relief available under Title III of the ADA. Houston v. Marod Supermarkets, Inc.,

733 F.3d 1323, 1329 (11th Cir. 2013). In addition to past injury, a plaintiff seeking injunctive relief

must show "a real and immediate - as opposed to a merely conjectural or hypothetical - threat of

future injury." Shotz v. Cates, 256 F.3d 1077, 1081 (11th Cir. 2001) (emphasis original).

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B.       Plaintiff Lacks Standing Because She Has Not Alleged an Injury in Fact

          i.      Plaintiff fails to allege a concrete and particularized injury

         Concreteness and particularization are distinct components of an injury in fact, Spokeo,

136 S. Ct. at 1548, but in the case of abstract dignitary harm, they are two sides of the same coin.

"Indignation at violation of the law is not concrete because it does not impact the plaintiff

personally; it is not particularized because it does not affect him in an "individual way." See Lujan

504 U.S. at 560 n.1. For a harm to be particularized, "[t]here must be some connection between

the plaintiff and the defendant that 'differentiates' the plaintiff so that his injury is not 'common to

all members of the public.' Carello, at 834 citing Griffin v. Dept. of Lab. Fed. Credit Union, 912

F.3d 649, 654 (4th Cir. 2019).

         Here, Plaintiff lacks any connection to the Eagles Nest hotel. There is no difference

between Plaintiff, and any other disabled adult in the country. ("Appellants' claims [about racial

discrimination in the hiring process] are generalized grievances shared in substantially equal

measure by a large class of citizens."); Am. Civil Liberties Union of Ill. v. City of St. Charles, 794

F.2d 265, 268 (7th Cir. 1986); ("[Deep offense] is not by itself a fact that distinguishes [the

plaintiff] from anyone else in the United States who disapproves of such displays."). Griffin, 912

F.3d at 656.

         Plaintiff has not alleged any connection to the Defendant's hotel to establish a concrete or

particularized harm, other than viewing an online website. See Plaintiff's Complaint ¶10. If

Plaintiff were to allege an actual connection i.e. planned on actually staying at the hotel in Quincy,

then perhaps her standing would be realized. But, not until such intent is shown can she avail

herself to the actual services Defendant offers, as she is no more entitled to an injunction than any

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other disabled citizen who views its website. As such, Plaintiff cannot establish standing based on

the allegations submitted and her Complaint should be dismissed as a matter of law.

C.       Plaintiff Has No Standing To Obtain Injunctive Relief Because Plaintiff Has Not
         Properly Alleged A Real And Immediate Threat Of Future Injury

         In ADA cases, courts have held that a plaintiff lacks standing to seek injunctive relief unless

he alleges facts giving rise to an inference that he will suffer future discrimination by the defendant.

Scherr v. Marriott International, 703 F.3d 1069, 1075 (7th Cir. 2013). Some district courts, in

determining whether a plaintiff has met the immediacy requirement of Lujan, have used a four

factor test in order to gauge the plaintiff's likely intent to return. The "proximity test" considers:

(1) the proximity of the place of public accommodation to plaintiff's residence; (2) plaintiff's past

patronage of defendant's business; (3) the definitiveness of plaintiff's plans to return; and (4) the

plaintiff's frequency of travel near defendant. Colorado Cross-Disability Coalition v. Abercrombie

& Fitch Co., 765 F.3d 1205, 1211 (10th Cir. 2014) (plaintiff's status as a tester does not

automatically grant a plaintiff standing; plaintiff must still satisfy standing requirements, including

real and immediate threat of future injury).

         Here, the Plaintiff's Complaint fails to satisfy this four prong test. Specifically, the Plaintiff

is over 1000 miles away from the Eagles Nest hotel. See Plaintiff's Complaint ¶ 1. The Plaintiff

fails to allege she has previously visited or been a patron at Defendant's hotel. Additionally, there

are no facts in the Complaint indicating that she has ever traveled to Quincy, Illinois, or anywhere

in Illinois, or that she has any reason to travel anywhere in Illinois or any reason to seek lodging

anywhere in Illinois. There are no facts alleged satisfying the immediacy test outline in Lujan. For

the reasons stated herein, Plaintiff's alleged injury is not imminent, and therefore, she has not stated

facts alleging an injury in fact. Plaintiff's Compliant should be dismissed for lack of standing.


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         Additionally, in the context of Title III ADA suits, courts have uniformly required plaintiffs

to allege that they have a plausible intention to return to patronize a public accommodation or

otherwise utilize its goods or services. See, e.g Cohan v. Bensenville Hosp. Inc., No. 15-cv-00214,

2016 U.S. Dist. LEXIS 62207, at *6 (N.D. Ill. May 11, 2016) (plaintiff had standing where he

alleged that he visits Chicago numerous times a year and he would stay at defendant's Chicago

hotel during future visits but for its ADA violations); Colorado Cross Disability Coal. v.

Abercrombie & Fitch Co., 765 F.3d 1205, 1211-12 (10th Cir. 2014) (plaintiff had standing to sue

mall store where she stated that she would return to the store at least six times per year); Scherr v.

Marriott International, 703 F.3d 1069, 1075 (7th Cir. 2013) (plaintiff had standing to sue

defendant's Overland Park, Kansas hotel where she alleged that her extended family lives in the

nearby area but did not have standing to sue defendant's other 56 hotels since she did not allege

concrete intent to stay at them in the future).

         The Eleventh Circuit case of Houston v. Marod Supermarkets, Inc. is instructive. In

Houston, the plaintiff was a tester and not a bona fide patron of the defendant supermarket. 733

F.3d 1323, 1329 (11th Cir. 2013). The tester plaintiff sued the supermarket alleging architectural

barriers in violation of Title III of the ADA. Id. at 1325. The court first addressed whether the

plaintiff's tester status negated his injury in fact. Relying on other discrimination statutes, such as

Title II of the ADA in the Fair Housing Act where tester standing is not prohibited, the court

determined that the plaintiff's tester status did not preclude standing. Id. at 1330-34.4

         Noting that this conclusion did not end the standing analysis, the court then addressed

whether the plaintiff had properly alleged a real and immediate threat of future injury. Id. at 1334.

In ruling that he had sufficiently pled threat of future injury, the court found significant the

following facts: the law office of plaintiff's lawyer was located near the defendant supermarket;

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plaintiff visited his lawyer's office "on a regular basis"; and plaintiff anticipated going to his

lawyer's office in the near future. And most significant, the court relied on the plaintiff's averment

that he "would return to the Defendant's store to shop if [he] were able to park in the parking

spaces, have accessible restrooms, and be able to avail [him]self of the store's other facilities." Id.

at 1336 (emphasis added). Thus, the plaintiff adequately alleged a future intent to actually use the

supermarket's services. This was crucial in him showing future threat of injury.

         In like manner, the Second Circuit's opinion in Harty v. Simon Property Group, Ltd.

Partnership, 428 F. App'x 69, 71 (2nd Cir. 2011) is instructive. There the plaintiff brought suit

against a New York mall for violation of Title III of the ADA. The Second Circuit found a

likelihood of future injury because plaintiff alleged that he planned to visit New York in the near

future for specific personal and professional reasons and that he intended on shopping at the

defendant mall while visiting. Id. at 72. The Second Circuit in Harty distinguished its prior ruling

in Freydel v. New York Hospital, 242 F.3d 365 (2nd Cir. 2000). In Freydel, plaintiff sued New

York Hospital for failing to provide Russian sign-language interpreter services during her in-

patient treatment following a heart attack. Harty, 428 F. App'x at 72. Seeking injunctive relief

under the ADA, she argued she was likely to suffer future injury because her chronic medical

conditions could require future care and it was possible that she could be referred again to New

York Hospital, a tertiary care center in the same medical network as her local hospital. The Second

Circuit rejected her reasoning, finding that her potential return to the hospital "was speculative and

beyond her control, i.e., her future health care needs and her being referred to New York Hospital."

Id.

         As made clear in Freydel, the plaintiff could not simply allege that she was going to return

to the hospital to test its ADA compliance. Standing required an actual, concrete intent to return

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to the hospital for use of its services, which the Freydel plaintiff lacked. By contrast, the plaintiff

in Harty was able to show likelihood of future injury by alleging a specific future intent to use the

defendant mall's goods and services. See also Norkunas v. Park Road Shopping Center, Inc., 777

F. Supp. 2d 998, 1005 (W.D.N.C. 2011) ("the naked assertion of a desire to return to a defendant

establishment for the sole purpose of confirming ADA-compliance, without more, is insufficient

to establish standing."); Access 4 All, Inc. v. Thirty East 30th Street, Ltd. liability Co., 2006 U.S.

Dist. LEXIS 96742, at *31 (S.D.N.Y. Dec. 11, 2006) ("Although Plaintiffs are correct that courts

have found that a plaintiff may have standing where they legitimately have a dual motivation for

returning to a public accommodation, i.e., to avail themselves of goods and services and to verify

ADA compliance, there must be at least some component of direct injury.") Kelly Johnson, Note:

Testers Standing Up for Title III of the ADA, 59 Case W. Res. 683, 698 (2009) ("Testers

attempting to assert standing under Title III of the ADA have met animosity in federal courts

throughout the nation. The vast majority of courts that have dealt with the issue have denied

standing to plaintiffs.").

         The case law unequivocally establishes that a party seeking relief under Title III of the

ADA must show a future intent to actually utilize the accommodation in question. And as the

District Court in Carello correctly noted, "injunctive relief is not warranted in circumstances where

the plaintiff has no intent to access the accommodation." (See Carello Northern District Court

Order dated August 7, 2018, page 5 attached as Exhibit C). In the case at bar, Plaintiff's Complaint

reveals she has no intent to visit the Eagles Nest nor does she allege she has plans to stay at the

Eagles Nest, either soon or in the future. No future injury is alleged or plead. She does not have a

plausible intent to return to Defendant's website but for to test ADA compliance of the website.



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         Plaintiff's Title III ADA claim undermines this universally recognized requirement. See

Griffin, 293 F. Supp. 3d at 579 ("Such a result runs counter to the Supreme Court's emphatic

statement that a violation of a statute 'divorced from any concrete harm' is not sufficient to allege

an injury-in-fact.") (quoting Spokeo, Inc., 136 S. Ct. at 1549). Put simply, mere dignitary harm is

insufficient to establish standing in this matter, and Plaintiff cannot establish threat of future injury

by claiming she will return to Defendant's website in the future only to confirm its compliance.

This harm does not constitute an injury in fact under Article III.

D.       As A Matter Of Policy, Allowing Such A Claim To Be Sustained, When The Plaintiff
         Has No Intent To Electronically Reserve A Room Or Actually Stay At The Hotel In
         Quincy, Eviscerates Article III Standing Requirements.

         Allowing Plaintiff’s claim to stand based on the allegations stated in her Complaint, would,

essentially, permit any disabled individual in the country (or the world, for that matter) to sue any

business or public accommodation in the country if he or she believes the business website is non-

compliant, even if the disabled person has no reasonable intention of actually utilizing the business'

goods and services. Thus, as here, a Florida resident could sue a hotel in rural Illinois for operating

a non-compliant website, even if the hotel's goods and services can only be consumed in person

and the Florida resident has no intention of ever visiting Illinois, let alone the hotel.

         Congress clearly did not intend such absurd results. In re Baker, 430 F.3d 858, 860 (7th

Cir. 2005) (courts should not interpret a statute in a manner that would yield an absurd result). In

Carroll v. Farmers & Miners Bank, the plaintiff brought a Title III ADA claim against a bank for

maintaining a non-compliant website, despite the plaintiff living hundreds of miles from the bank's

nearest branch. Carroll v. Farmers and Miners Bank, 2:17CV00049, 2018 WL 1659481, at *1

(W.D. Va. Apr. 5, 2018). In rejecting the plaintiff's claim that he had standing to sue as a "tester,"

the district court reasoned as follows:

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                 [T]o bring an action as a tester, Carroll must nevertheless establish standing, which
         he cannot. "[A] Title III plaintiff cannot use [his] status as a tester to satisfy the standing
         requirements where [he] would not have standing otherwise." Norkunas, 777 F. Supp. 2d
         at 1005. Carroll contends that his standing as a tester should not be challenged because
         enforcement of the ADA is accomplished through persons such as himself. On this basis,
         Carroll contends that he theoretically has standing to sue every bank in the United States
         under the ADA. Carroll essentially argues that our traditional notions of standing should
         not apply to lawsuits involving online services offered by places of public accommodation,
         and that any accessibility barrier contained within such online services automatically
         establishes injury in fact.

         I decline to broaden the standing requirements under Article III in such a manner. Doing
         so would effectively eliminate standing requirements altogether in the context of the
         Internet, and "[n]o principle is more fundamental to the judiciary's proper role in our system
         of government than the constitutional limitation of federal-court jurisdiction to actual cases
         and controversies." Spokeo, 136 S. Ct. at 1547.

Farmers & Miners Bank at *3. The district court's reasoning in Farmers & Miners Bank is

especially applicable here, where Plaintiff has alleged no facts indicating intent to reserve a room

online or actually stay at the Eagles Nest in Quincy. Allowing this litigation to proceed will only

open the floodgates to more claimants bringing Title III ADA lawsuits against businesses which

they have no intention of patronizing, using or visiting.

                               REQUEST FOR ATTORNEY FEES

         This lawsuit defies justice and good faith litigation. "Acting through their historic equity

jurisdiction, District Courts may, nonetheless, as an exception to the American Rule, award such

fees in certain cases where, as it has been said, dominating reasons of justice so require." 31 A.L.R.

Fed. 833 (Originally published in 1977). "The rationale or purpose of allowing recovery of costs,

"as between solicitor and client," in this class of cases is said to be punitive, with the

appropriateness of the relief in a particular case being recognized as a matter addressed solely to

the trial court's discretion, which will be disturbed only on a showing of a clear abuse thereof." 31

A.L.R. Fed. 833 (Originally published in 1977).


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          The purpose of this lawsuit is not to remedy website deficiencies encountered by the

Plaintiff or to cure ADA violations. Plaintiff, a resident near Tampa Bay, Florida, has absolutely

no intention or future plans to stay at the Eagles Nest hotel in Quincy, Illinois. There will never be

a day when the Plaintiff actually intends to stay at this hotel, where the information she is

requesting regarding handicap accessible room availability is relevant to her. In reality, this lawsuit

is nothing more than a legal shakedown for pursuing attorneys and expert fees, as evidenced by

the fact Plaintiff has filed over 200 of the same lawsuits, now including twenty (20) in Illinois, and

the Plaintiff made no effort to notify Defendant of any purported website deficiencies or ADA

violations prior to institution of this lawsuit. As a means to stop such frivolous lawsuits from being

filed in the future, Defendant hereby requests that, upon granting of this motion and dismissal of

this case, that Plaintiff be ordered to pay Defendant reasonable attorneys' fees and costs. Upon the

entering of such order, Defendant shall timely submit the amount of fees and costs incurred for the

Court's review and approval.

                                          CONCLUSION

         For the following reasons, Plaintiff's Complaint should be dismissed as a matter of law for

lack of standing under Federal Rule of Civil Procedure 12(b)(1).

                                               By: /S/ Daniel M. McCleery______________
                                               Daniel M. McCleery; #6321087
                                               Schmiedeskamp Robertson Neu & Mitchell LLP
                                               Attorneys for Defendant Q ILL Development LLC
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                                               Company
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of August, 2020, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following:

          Kimberly A. Corkill                     kimberlyatlaw@gmail.com
          Thomas B. Bacon, P.A.
          7 N. Coyle Street
          Pensacola, FL 32502

and I hereby certify that I have mailed by United States Postal Service the document to the
following non CM/ECF participants: None.

                                             By: /S/ Daniel M. McCleery______________
                                             Daniel M. McCleery; #6321087




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